            Case 1:19-cv-05631-MKV Document 25 Filed 04/03/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


COMMODITY FUTURES TRADING
COMMISSION,

                       Plaintiff,

                v.
                                                           Case No. 1:19-cv-05631-MKV
CONTROL-FINANCE LIMITED AND
BENJAMIN REYNOLDS,

                       Defendants.


                        AFFIDAVIT IN SUPPORT OF PLAINTIFF’S
                       REQUEST FOR CERTIFICATE OF DEFAULT

       I, Julia C. Colarusso, pursuant to 28 U.S.C. § 1746 (2018), declare as follows:

       1.       I am employed as a Trial Attorney by the Division of Enforcement of the

Commodity Futures Trading Commission (“Plaintiff” or “Commission”) in Washington, D.C. I

have personal knowledge of the facts stated herein. I submit this Affidavit in support of

Plaintiff’s Request for a Certificate of Default against Defendant Benjamin Reynolds

(“Reynolds”).

       2.       On June 17, 2019, the Commission filed its Complaint against Reynolds and

Defendant Control-Finance Limited, alleging fraud and other violations of the Commodity

Exchange Act, 7 U.S.C. §§ 1-26 (2018), and its implementing Commission Regulations, 17

C.F.R. pts. 1-190 (2019). See ECF No. 1.

       3.       The Commission sought leave to serve Reynolds by publication in the United

Kingdom pursuant to Federal Rule of Civil Procedure 4(f)(3). ECF No. 16. Judge Koeltl

granted that request on January 7, 2020 (the “January 7 Order”). ECF No. 20. As required by
               Case 1:19-cv-05631-MKV Document 25 Filed 04/03/20 Page 2 of 2




the January 7 Order, the Commission published a notice about the case in The Daily Telegraph, a

U.K. newspaper, once a week for four consecutive weeks, and the notice included the text of the

Summons and a statement describing how a copy of the Complaint could be obtained.

Accordingly, the Complaint was properly served on Reynolds. The Commission then filed a

Proof of Service with the Court on March 3, 2020. ECF No. 21.

          4.       The January 7 Order obligated Reynolds to respond to the Complaint within

twenty-one days from the date of the last publication in The Daily Telegraph. As set forth in the

Commission’s Proof of Service, the last publication in The Daily Telegraph occurred on

February 8, 2020. Accordingly, Reynolds was required to respond to the Complaint on or before

March 2, 2020. To date, Reynolds has not answered or otherwise responded to the Complaint.

          5.       Upon information and belief, Reynolds is not an infant or an incompetent person.

          6.       Upon information and belief, Reynolds is not presently in the military service of

the United States.

          7.       For the foregoing reasons, and pursuant to Federal Rule of Civil Procedure 55(a),

the Commission respectfully requests that the Clerk of the Court enter default against Reynolds

and issue a Certificate of Default, due to Reynolds’s failure to plead or otherwise defend this

action.


          I declare under penalty of perjury that the foregoing is true and correct.



Executed on April 3, 2020                        s/Julia C. Colarusso




                                                    2
